         Case 1:21-cr-00221-CJN Document 21 Filed 02/22/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       Case No. 21-cr-221 (CJN)
              v.                            :
                                            :
MARK BLUE, and                              :
NICK SAVOY                                  :
                      Defendants.           :

                                NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court and counsel that the government will be represented

in the above-captioned matter by Assistant United States Attorney Stuart Allen, who will join the

other counsel for the government who have previously filed their appearances in the case.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar Number 481052

                                            By: _/s/ Stuart Allen_______________________
                                            Stuart D. Allen
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Dated: February 22, 2022
